Case 1:04-cr-00010-MW-GRJ         Document 404      Filed 04/28/05    Page 1 of 2




                                                                            Page 1 of 2


                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,

v.                                             CASE NO.: 1:04-CR-010-SPM

THOMAS SAPPENFIELD;
JOHN JASON LITTLE;
RESHAY DANIELS;
JOHNNY GEORGE;
EVERETT YOUNG;
WILLIE J. HINES;
MARCIA THURMAN;
DAVID DERN,

     Defendants.
________________________________/

                     ORDER EXTENDING TIME FOR
              DEFENDANT LITTLE’S VOLUNTARY SURRENDER

      THIS CAUSE comes before the Court upon “Defendant John Jason

Little’s Second Motion to Enlarge Time to Voluntarily Surrender to the Bureau of

Prisons upon Stipulation of Counsel” (doc. 403) filed April 22, 2005. As grounds,

Defendant avers that the Bureau of Prisons will be unable to complete his

designation by May 2, 2005, his currently-scheduled surrender date.

Additionally, Defendant advises that his presence will be necessary at the closing

of the sale of his house. Defendant requests a two-week extension of time in
Case 1:04-cr-00010-MW-GRJ         Document 404      Filed 04/28/05    Page 2 of 2




                                                                          Page 2 of 2


which to surrender. The Government does not object to the granting of the

motion.

       The Court finds good reason to grant the extension. Accordingly, it is

       ORDERED AND ADJUDGED as follows:

       1.    The Motion to Enlarge Time (doc. 403) is granted.

       2.    Defendant is ordered to surrender to the United States Marshal at

             Gainesville, Florida at 12 o’clock noon no later than Monday, May

             16, 2005.

       DONE AND ORDERED this twenty-eighth day of April, 2005.


                                    s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge

/pao
